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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )       2:12cr84-MHT
BARBARA MURRY,                     )            (WO)
DOUGLAS MURRY,                     )
DOUGLAS MURRY, III,                )
YOLANDA MOSES,                     )
LEE MOSES,                         )
VERONICA TEMPLE,                   )
JEFFREY TEMPLE,                    )
ALMETTA JOHNSON,                   )
and COURTNEY JOHNSON.              )

                        OPINION AND ORDER

    This cause is before the court on all defendants’

motion to continue.       For the reasons set forth below, the

court finds that jury selection and trial, currently set

for July 30, 2012, should be continued pursuant to 18

U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,
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18 U.S.C. § 3161.       In pertinent part, the Act provides:

         “In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
         indictment with the commission of an
         offense shall commence within seventy
         days from the filing date (and making
         public)    of   the    information    or
         indictment, or from the date the
         defendant has appeared before a judicial
         officer of the court in which such
         charge is pending, whichever date last
         occurs.”

18 U.S.C. § 3161(c)(1).        The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.” § 3161(h)(7)(A).        In granting such a continuance,

the court shall consider, among other factors, whether

the failure to grant the continuance would “result in a

miscarriage of justice,” § 3161(h)(7)(B)(i), or “would

deny counsel for the defendant or the attorney for the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”    § 3161(h)(7)(B)(iv).


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     Counsel      for    the    defendants       urge      this    court   to

continue    the    trial       date   because     of       the    voluminous

discovery documents that the government has provided

(over 11,000 thus far) and which each counsel must review

in   preparation        of   their    defense.        In      addition,    the

government intends on producing more documents relevant

to the case, which have not been provided to defense

counsel at this time.               Last, some of the defendants’

lawyers have had trouble accessing the documents produced

by   the   government        thus    far   due   to     the    government’s

data-encryption codes.          In proceedings held in open court

where these reasons were explored and clarified, the

court ordered that the government make available its

information technology staff to resolve any of the access

issues with the documents.

     On the basis of the attestations made in open court

and those in the defendants’ motion, the court                    concludes

that in this case the ends of justice served by granting

a continuance outweigh the interest of the public and



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each defendant in a speedy trial.            To put on an adequate

defense, defense counsel must have the opportunity not

just to read (at a painstakingly slow rate given some of

the technology problems with the documents) the record

once, they must understand the record well enough to test

the government’s proof and to anticipate issues that may

pertain to each client vis-a-vis the other defendants in

this nine-defendant matter.            In addition, the government

does not oppose the motion for a continuance.

                                 ***

    Accordingly, it is ORDERED as follows:

    (1) Defendants Barbara Murry, Douglas Murry, Douglas

Murry, III, Yolanda Moses, Lee Moses, Veronica Temple,

Jeffrey Temple, Almetta Johnson, and Courtney Johnson’s

motion for continuance (Doc. No. 87) is granted. (While

the motion was filed by defendant Courtney Johnson, all

other defendants orally joined in the motion at a hearing

on May 29, 2012.)




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    (2)    The    jury     selection      and    trial     for    these

defendants, now set for July 30, 2012, are reset for

November 5, 2012, at 10:00 a.m. in Courtroom 2FMJ of the

Frank M. Johnson Jr. United States Courthouse Complex,

One Church Street, Montgomery, Alabama.

    The court recognizes that it has another multi-

defendant case set for November 5, 2012.               One case will

be tried after the other, with the oldest case going

first.

    DONE, this the 29th day of May, 2012.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
